Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 1 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 2 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 3 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 4 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 5 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 6 of 21



                                                                     Digitally signed by DEEPIKA
                                  DEEPIKA                            SHUKLA
                                                                     Date: 2022.08.16 13:52:13
                            By:   SHUKLA                             -04'00'
                                  DEEPIKA SHUKLA
                                  Chief, Springfield Branch Office
                                              Digitally signed by
                                  STEVEN      STEVEN BRESLOW
                                              Date: 2022.08.16
                                  BRESLOW     20:04:49 -04'00'

                                  STEVEN H. BRESLOW
                                  Assistant U.S. Attorney

                                  BRIT FEATHERSTON
                                  United States Attorney
                                  Eastern District of Texas
                                                                    Digitally signed by TRACEY
                                  TRACEY BATSON                     BATSON
                            By:                                     Date: 2022.08.18 12:25:58 -05'00'

                                  TRACEY BATSON
                                  Assistant United States Attorney




                              6
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 7 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 8 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 9 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 10 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 11 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 12 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 13 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 14 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 15 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 16 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 17 of 21
Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 18 of 21
                  Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 19 of 21




                 12.           Hanson's Threat To The President Of University of North Texas ("UNT")

                 On           March   3,   2022,   Hanson    sent   the   following   threatening   email   from

Killallmarxisttrannyteachers@usa.com to the President of UNT. The title of the email read: "You

ought to be shot in the head and have your offices set on fire for supporting child genital mutilation

and transgenderism."

                 The body of the email read: "YOU LEFTIST FREAKS are the intolerant ones. Trannies

are disgusting PERVERTS. Every single tranny freak should be gassed, along with their

supporters. I will personally go to your university and start executing tyrannical leftist students

and faculty who oppress conservatives. The only good Democrat is a dead Democrat."

                 13.           Hanson's Threats To Walt Disney Co. ("Disney")

                 On March 10-11, 2022, Hanson sent the following two e-mails to Disney's Chief Executive

Officer ("CEO"):

                               a.     March 10, 2022: An e-mail from DestroyWokeCorporations@mail.com

                                      with the subject line "I am going to assassinate you and shoot up your

                                      corporate headquarters for promoting the horrific transgender ideology to

                                      children." The body of the email read: "You Marxist corporatists are the

                                      enemies of America. You are controlled by the Democrats and the tranny

                                      mafia, and I will kill you and your entire family for promoting transgender

                                      child abuse. I know where you live, you evil sack of shit."

                               b.     March 11, 2022: An e-mail from DestroyWokeCorporations@usa.com

                                      with the subject line: "I am going to shoot up and bomb your headquarters

                                      for being a bunch of pedophile faggots who foist transgender ideology onto

                                      children." The body of the email read: "You are a sickening, spineless
                                                            19

,7.J)lf
JDH !Aut18, 202214:0:9 POT)
                    Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 20 of 21




                                       woke corporation, and you all deserve to die. The only way to stop the

                                       destruction of America by woke corporations is through terrorism."

                  On March 16, 2022, Hanson called in the following bomb threat to Disney: "Hey, I just

learned that your company supports the transgender agenda and wants to brainwash children with

gender ideology. So, just to let you know, I've left multiple pipe bombs at your corporate

headquarters. See ya."

                   14.           Hanson's Threat To USA Today and the United States Department of Health and

                                 Human Services ("HHS")

                  On March 18, 2022, Hanson sent the following communication to USA Today via

Formstack from the user name "Death to Leftist Journalists" who provided the email address

DestroyWokeCorporation@usa.com. The communication read: "I am going to shoot up and

bomb your offices for being a lying fake news rag that declared a man 'woman of the year.' Then,

I will assassinate that freak Richard Levine and blow up the HHS."4

                  15.            The Eau Claire (Wisconsin) Area School Board Threat

                  On March 21, 2022, Hanson posted the following threat against the school board of the

Eau Claire (Wisconsin) Area School District on its website. The contact's name listed on the

contact form was "Kill All Marxist Teachers." The email listed on the contact form was

Death2Marxists@gmail.com. The message stated: "I am going to kill you and shoot up your next

school-board meeting for promoting the horrific, radical transgender agenda. It's now time to

declare war on you pedos [sic]. I am going to kill you and your entire family."



4
 USA Today recently named Rachel Lavine, a transgender woman who is an Assistant Secretary
of Health and Human Services for the Bi den Administration, as one of its Women of the Year.
Richard Lavine was the name used by Rachel Lavine prior to Lavine's gender transition.
                                             20

    ,ZJ?lf
    JDH {lwg18, 202214:09 PDl)
                     Case 3:22-cr-30013-MGM Document 32 Filed 08/22/22 Page 21 of 21


 Elkins, Marissa.Rule 11(c)(1)(B) plea
 agreement.Hanson, Jeremy.FINAL.08-03-22
 Final Audit Report                                                                                    2022-08-18

   Created :                2022-08-18

       By:                  Marissa Elkins (melkins@elkinslawllc.com)

       Status:              Signed

       Transaction ID:      CBJCHBCAABAAc cqSF72BQJILFVR_hjg15XZ4UxUjJ2Mm




 "Elkins, Marissa.Rule 11(c)(1 )(B) plea agreement.Hanson, Jere
 my.FINAL. 08-03-22" History
 'El Document created by Marissa Elkins (melkins@elkinslawllc.com)
        2022-08-18 - 3: 14:56 PM GMT- IP address: 174.249.36.119


 � Document emailed to ecomayah@gmail.com for signature
        2022-08-18 - 3: 19:01 PM GMT


 'El    Email viewed by ecomayah@gmail.com
        2022-08-18 - 9:02:03 PM GMT- IP address: 66.249.84.71


 � Signer ecomayah@gmail.com entered name at signing as JDH
        2022-08-18 - 9:09:15 PM GMT- IP address: 98.149.110.214


 � Document e-signed by JDH (ecomayah@gmail.com)
        Signature Date: 2022-08-18 - 9:09: 16 PM GMT - Time S o urce: server- IP address: 98 .149.110.214


 9      Agreement completed.
        2022-08-18 - 9 09 16 PM GMT




fJ Adobe Acrobat Sign
